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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


 Everett McKinley Dirksen United States Courthouse                                 Office of the Clerk
         Room 2722 - 219 S. Dearborn Street                                       Phone: (312) 435-5850
               Chicago, Illinois 60604                                            www.ca7.uscourts.gov




                                                          ORDER
  May 4, 2020
                                                            Before
                                     MICHAEL S. KANNE, Circuit Judge

                                     ILANA DIAMOND ROVNER, Circuit Judge

                                     DAVID F. HAMILTON, Circuit Judge


                                          CAMELOT BANQUET ROOMS, INC., et al.,
                                          Plaintiffs - Appellees

  No. 20-1729                             v.

                                          UNITED STATES SMALL BUSINESS ADMINISTRATION, et al.,
                                          Defendants - Appellants

                                          J.R. SCHUSTER, LLC,
                                          Plaintiff - Appellee

  No. 20-1730                             v.

                                          UNITED STATES SMALL BUSINESS ADMINISTRATION, et al.,
                                          Defendants - Appellants

  Originating Case Information:

  District Court No: 2:20-cv-00601-LA
  Eastern District of Wisconsin
  District Judge Lynn Adelman

  Originating Case Information:

  District Court No: 2:20-cv-00634-LA
  Eastern District of Wisconsin
  District Judge Lynn Adelman
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       Upon consideration of the GOVERNMENT’S EMERGENCY MOTION FOR
 STAY PENDING APPEAL AND IMMEDIATE ADMINISTRATIVE STAY, filed on
 May 4, 2020, by counsel for the appellants,

       IT IS ORDERED that the district court's preliminary injunction is temporarily
 STAYED pending resolution of this motion. The government shall reserve guarantee
 authority for potential loans to the appellees in the amount appellees previously
 applied for, but need not transmit any funds until after this court has ruled on the
 government's motion to stay the injunction pending appeal.

        IT IS FURTHER ORDERED that the appellees shall respond to the
 government’s motion to stay on or before May 8, 2020. The government may file a reply
 on or before May 11, 2020.




  form name: c7_Order_3J(form ID: 177)
